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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION



   In re:                                                  Chapter 11

   HIGHPOINT LIFEHOPE SPE, LLC,                            Case No. 22-50929-MMP

                         Debtor.



                             MOTION FOR ADMISSION PRO HAC VICE

            Robert P. Harris ("Applicant"), moves this court to grant admission to the United States

  Bankruptcy Court for the Western District of Texas, pro hac vice, to represent Capital One,

  National Association in this case and respectfully represents to the Court as follows:

             1.      Applicant is an attorney and a member of the law firm of Quarles & Brady LLP

  with offices at:

                     One Renaissance Square
                     Two North Central Avenue
                     Phoenix, Arizona 85004-2391
                     Telephone: 602-229-5411
                     Facsimile: 602-229-5690
                     E-mail: robert.harris@quarles.com

             2.      Since October 1987, Applicant has been, and presently is, a member of and in good

  standing with the Bar of the State of Arizona. Applicant's Arizona bar license number is 011523.

             3.      Applicant has been admitted to practice before the following state and federal

  courts:

  Court:                                                                Admission Date:
  Arizona Supreme Court                                                 1987
  United States District Court, District of Arizona                     1987
  United States Court of Appeals for the Ninth Circuit                  2013




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           4.     Applicant is presently in good standing of the bars of said courts listed above, and

  is not currently suspended or disbarred in any other court, except as provided below (list any court

  in the preceding paragraph before which Applicant is no longer admitted to practice): None.

           5.     Applicant has never been subject to grievance proceedings or involuntary removal

  proceedings while a member of the bar of any state or federal court, except as provided below:

  None.

           6.     Applicant is eligible to practice in the Bankruptcy Court.

           7.     Applicant has read and is familiar with the Local Rules of the Western District of

  Texas Bankruptcy Court and is subject to all rules of practice of the U.S. District Court of the

  Western District of Texas and will comply with the standards of practice set forth therein.

           8.     Applicant has not requested admission pro hac vice in the Bankruptcy Court for the

  Western District of Texas in the preceding twelve months.

           WHEREFORE, Applicant respectfully requests that this Court enter an order permitting

  the admission of John A. Harris to the United States Bankruptcy Court for the Western District of

  Texas pro hac vice for this case only.

           RESPECTFULLY SUBMITTED this 24th day of August, 2022.

                                                QUARLES & BRADY LLP


                                                By:     /s/ Robert P. Harris
                                                      Robert P. Harris
                                                      Arizona Bar No. 011523
                                                      One Renaissance Square
                                                      Two North Central Avenue
                                                      Phoenix, Arizona 85004-2391
                                                      Telephone: 602-229-5411
                                                      Facsimile: 602-229-5690
                                                      Email: robert.harris@quarles.com

                                                Counsel for Capital One, National Association



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                                                        -and-

                                               MUNSCH HARDT KOPF & HARR, P.C.

                                               By:      /s/ Jay H. Ong
                                                     Jay H. Ong
                                                     Texas Bar No. 24028756
                                                     John Cornwell
                                                     Texas Bar No. 24050450
                                                     Jamil N. Alibhai
                                                     Texas Bar No. 00793248
                                                     1717 West 6th Street, Suite 250
                                                     Austin, Texas 78703
                                                     Telephone: 512.391.6100
                                                     Facsimile: 512.391.6149
                                                     jong@munsch.com
                                                     jcornwell@munsch.com
                                                     jalibhai@munsch.com

                                               Counsel for Capital One, National Association



                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on this 24th day of August, 2022, I personally caused
  to be served a true and correct copy of the above and foregoing document on the parties receiving
  notice in this case via the Court’s ECF filing system, by filing same through such system.

                                                        /s/ Jay H. Ong
                                                     Jay H. Ong




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